Case 1:22-cr-00070-RDM Document93_ Filed 12/11/24 Pagelof1

To: Judge Moss

From: Lucas Denney, #78422-509 Ss Q)- ore FO

Date: November 24, 2024
Dear Judge Moss,

Please terminate William Shipley, Jr from all of my court dockets. | do not want his services, nor
need them.

Thank you,

Lucas Denney

#78422-509
FCI Florence IT BE FILED

P.O. Box 6000 | td Yo ttm

Florence, CO 81226
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